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Attorneys for Plaintiffs
Promotion In Motion, Inc. and Welch Foods Inc., A Cooperative

                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY

------------------------------------------------------------x

PROMOTION IN MOTION, INC., and
WELCH FOODS INC., A COOPERATIVE
                                                                20-CV-
                             Plaintiffs,
                                                                COMPLAINT
                 v.

KERVAN USA LLC,

                             Defendant.

-----------------------------------------------------------x

            Plaintiffs Promotion In Motion, Inc. (“PIM”) and Welch Foods Inc., A Cooperative

(“Welch”), by and through their undersigned attorneys, as and for their Complaint in this action

against Kervan USA LLC (“Kervan”), having an address at 1139 Lehigh Ave., Suite 300 C,

Whitehall, Pennsylvania 18052-5518, allege as follows:




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                                     NATURE OF THE ACTION

             1.   Plaintiffs bring this action for trade dress infringement, false designation of origin

and unfair competition under the Lanham Act, 15 U.S.C. § 1051 et seq., and corresponding state

law, and for breach of contract, to halt Defendant’s infringement of the distinctive and highly

recognizable packaging trade dress for the market-leading WELCH’S FRUIT SNACKS product.

                                               PARTIES

            2.    PIM is a Delaware corporation with a principal place of business at 25 Commerce

Drive, Allendale, New Jersey 07401. PIM is in the business of developing, manufacturing,

marketing, and distributing branded confectionery, snack and candy products.

            3.    Welch is a Michigan cooperative corporation with a principal place of business at

300 Baker Avenue, Suite 101, Concord, MA 01732. Welch is the cooperative marketing arm of

the National Grape Co-Operative Association, a cooperative of grape farmers. Welch

manufactures and markets grape juices and other food and beverage products.

            4.    Upon information and belief, Defendant Kervan is a Pennsylvania limited liability

company with a principal place of business at 1139 Lehigh Ave., Suite 300 C, Whitehall,

Pennsylvania 18052-5518. Upon information and belief, Kervan is in the business of

manufacturing and importing various candy products for sale in the United States.

                                   JURISDICTION AND VENUE

            5.    This Court has jurisdiction over the claims pursuant to 15 U.S.C. § 1121 and 28

U.S.C §§ 1331 and 1338, and pursuant to principles of supplemental jurisdiction.

            6.    This Court has personal jurisdiction over Kervan because, upon information and

belief, it is doing business in New Jersey, has committed tortious acts within New Jersey by

selling the infringing products from which this dispute arises in this jurisdiction and has


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consented to jurisdiction in this Court with respect to disputes arising out of the Settlement

Agreement.

            7.   Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b) and (c).

                                               FACTS

The Successful and Famous WELCH’S FRUIT SNACKS Product and Trade Dress

            8.   In developing its own proprietary candy brands, PIM expends great effort in

creating appealing and distinctive recipes, formulas, product attributes, shapes, graphics, brand

names and packaging to distinguish its products in the marketplace.

            9.   One of PIM’s most successful products is WELCH’S FRUIT SNACKS, which

was introduced in 2001. WELCH’S FRUIT SNACKS is the market leader in its category and is

widely familiar to millions of consumers in the United States.

          10.    PIM markets its WELCH’S FRUIT SNACKS pursuant to an exclusive license

from Welch, which has granted PIM the exclusive right to use the WELCH’S trademark and

variations on that mark in connection with fruit snacks.

          11.    WELCH’S FRUIT SNACKS boasts a unique and appealing recipe, flavor profile,

trade dress and packaging design, each of which distinguishes the product in the marketplace.

          12.    Unlike many other branded fruit snack products, WELCH’S FRUIT SNACKS is

made with real fruit and is based on a sophisticated recipe and preparation that provide a better

quality taste and texture than competitive products. This closely guarded recipe and flavor

profile give PIM’s product a competitive edge in the marketplace.

          13.    WELCH’S FRUIT SNACKS also uses a distinctive and now famous trade dress

and packaging design, which has consisted of the same primary elements and carried the same

basic overall look since inception (“the WELCH’S FRUIT SNACKS Trade Dress”). While the

product is sold in various different box, bag and flavor configurations, the WELCH’S FRUIT
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SNACKS Trade Dress is consistent across these various packages and serves to identify and

distinguish the product as the highest quality fruit snacks available. As set forth below, while

keeping the same critical trade dress elements that consumers use to recognize the brand, the

WELCH’S FRUIT SNACKS Trade Dress also appears in holiday versions that add holiday-

themed imagery to correspond to certain sales seasons.

          14.    The WELCH’S FRUIT SNACKS Trade Dress is the amalgam of many different

elements that feature a white central panel or box with the term “Fruit Snacks” in blue lettering

centered over a curved arc, all surrounded by a contrasting colored background. The white panel

is also surrounded by a lined blue edging, and a stacked and photorealistic assortment of fruit

items extending out along the right and left edges and bottom of the panel. The top of the

package uses the tagline “Fruit is our 1st Ingredient!,” while the phrase “Family Farmer Owned”

appears directly beneath the WELCH’s brand name.

          15.    The most popular and best performing version of the product is WELCH’S

MIXED FRUIT FRUIT SNACKS, which boasts unequaled sales per point of distribution in the

grocery retail channel and is the single best performing item in the entire fruit snacks category.

Consistent with the WELCH’S FRUIT SNACKS Trade Dress, WELCH’S MIXED FRUIT

FRUIT SNACKS is sold in various sized boxes and bags featuring the familiar elements

described above. A copy of the WELCH’S FRUIT SNACKS Trade Dress for the WELCH’S

MIXED FRUIT FRUIT SNACKS is depicted below:




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       16.       Other versions of WELCH’S FRUIT SNACKS feature the same basic trade dress

with modest adjustments in background color and the depicted fruit. For example, the popular

WELCH’S BERRIES ‘N CHERRIES FRUIT SNACKS and WELCH’S FRUIT PUNCH FRUIT

SNACKS feature a graphically similar design, with only changes to the background color and

particular fruit depicted. Examples of bags of these products appear below:




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          17.    The holiday-themed version of the WELCH’S FRUIT SNACKS Trade Dress

carries forward the brand’s key visual presentation, such as the central white panel and central

display of the vertically stacked words “FRUIT SNACKS” in blue lettering. It replaces the fruit

located along the sides of the package with Christmas-shaped individual fruit snack pieces, and

adds other holiday imagery, including evergreen branches, as shown below:




          18.    The WELCH’S FRUIT SNACKS Trade Dress is inherently distinctive and non-

functional. As evidenced by the numerous third party products that use an entirely different

graphic design, the WELCH’S FRUIT SNACKS Trade Dress represents a series of arbitrary,

artistic design choices creating a unique overall selling image and brand presentation that serve

to identify WELCH’S FRUIT SNACKS and distinguish the products from others in the

marketplace.

          19.    WELCH’S FRUIT SNACKS has been a consistent and stunning commercial

success since the product was first introduced. PIM’s sales of Welch’s Fruit Snacks at the

wholesale level exceeded $375 million in calendar year 2019, during which more than 2 billion

packs were sold. Since the brand’s introduction, PIM has sold more than $2 billion of the

product at wholesale.




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          20.    PIM aggressively promotes WELCH’S FRUIT SNACKS through various media.

It attends numerous trade shows every year, and advertises the product in national magazines,

newspaper free standing inserts, billboards, in-store signage, social media (Facebook, Instagram,

Twitter, YouTube), various websites, theme parks and more. WELCH’S FRUIT SNACKS

frequently appears in magazines, web blogs, and television news segments in connection with

trends in snacking. Since 2015, PIM has expended approximately $50 million dollars in

promoting the brand.

          21.    In virtually all advertisements and promotions, the WELCH’S FRUIT SNACKS

Trade Dress is prominently depicted, because it serves as such a strong source identifier.

          22.    WELCH’S FRUIT SNACKS is also heavily promoted by major retail chains of

all types in their own widely circulated weekly flyers reaching tens of millions of consumers

weekly. Retailers for WELCH’S FRUIT SNACKS advertise the product in mailers, print ads,

online and various other media, and also offer various promotional offers and discounts to

stimulate sales of the product. And again, such advertisements invariably depict the product

itself, so that the familiar the WELCH’S FRUIT SNACKS Trade Dress is displayed time and

again to consumers.

          23.    WELCH’S FRUIT SNACKS is distributed, sold, marketed and promoted through

virtually all available trade channels and reaches millions upon millions of consumers on an

ongoing basis. These trade channels include, without limitation, grocery stores, drug stores, big

box stores, club stores, specialty retailers, convenience stores, dollar stores, petroleum/gas

retailers, vending, foodservice, hospitality, and the concessions and fundraising markets.

          24.    WELCH’S FRUIT SNACKS is the undisputed leader in its class of product and is

rated as the number one brand of real fruit snacks in household penetration, loyalty, and purchase


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rates.

          25.    As a result of the enormous commercial success and years of promotion of

WELCH’S FRUIT SNACKS, the WELCH’S FRUIT SNACKS Trade Dress has become

extremely well-known to consumers and the trade as identifying real fruit snacks of the highest

quality.

          26.    The WELCH’S FRUIT SNACKS Trade Dress is inherently distinctive and has

also acquired secondary meaning among the relevant class of consumers and the trade.

          27.    The WELCH’S FRUIT SNACKS Trade Dress has acquired significant goodwill

and represents intellectual property of tremendous value.

Kervan’s History Of Unlawful Conduct

          28.    Defendant Kervan has now been engaged for several years in a concerted plan to

siphon off the goodwill that Plaintiffs have spent years in cultivating for the WELCH’S FRUIT

SNACKS Trade Dress.

          29.    In 2018, Kervan announced that it had entered into a long-term licensing

partnership with Sunkist Growers, Inc. (“Sunkist”) to introduce a line of gummy fruit candies.

The initial version of the packaging introduced for that product closely copied the WELCH’S

FRUIT SNACKS Trade Dress, as shown below in the side-by-side comparison of three iterations

of the parties’ respective products being sold at that time:




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          30.    As is apparent from the above comparisons, Kervan’s original packaging for its

SUNKIST FRUIT GUMMIES product lifted the most distinctive elements of the WELCH’S

FRUIT SNACKS Trade Dress, arranged those elements in a nearly identical fashion, and

combined them with replicas of the taglines associated with WELCH’S FRUIT SNACKS. As a

result, Plaintiffs brought suit in this Court against Kervan, Case 2:18-cv-11670-MCA-MAH (the

“Prior Action”), alleging that the original Kervan packaging infringed the WELCH’S FRUIT

SNACKS Trade Dress under federal and state law.

          31.    The parties resolved the Prior Action by entering into a settlement agreement

effective as of October 23, 2018 (the “Settlement Agreement”), which also provided for the entry

of a Final Order and Judgment on Consent (the “Consent Judgment”). The Consent Judgment

was signed by the Court and entered on the docket on November 14, 2018.

          32.    Both the Settlement Agreement and the Consent Judgment prohibited Kervan

from using its original packaging design that was the subject of the Prior Action and any



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packaging, designs, shapes, colors, trade dress, product configuration or other materials

confusingly similar to the WELCH’S FRUIT SNACKS Trade Dress

          33.    Under both the Settlement Agreement and Consent Judgment, Plaintiffs expressly

approved a revised version of the SUNKIST Fruit Gummies product pictured below (the

“Revised Kervan Packaging”):




          34.    Among other things, the Revised Kervan Packaging adopted a different color

scheme for the mixed fruit version of the product (moving from blue to yellow), eliminated the

central white panel that appears as a prominent feature of the WELCH’S FRUIT SNACKS Trade

Dress and replaced the use of stacked fruit cascading along the sides and bottom of the

packaging with an array of fruit in a basket at the bottom of the package.

          35.    Pursuant to paragraph 7 of the Settlement Agreement, if Kervan planned to revise

the approved Revised Kervan Packaging, it had the option to submit its new packaging to PIM in

order to ascertain whether PIM objected to such packaging as violating its rights.

          36.    Kervan has recently introduced a new and infringing holiday version of its

packaging shown below (the “Kervan Holiday Packaging”). Notably, Kervan did not avail itself

of the option provided under the Settlement Agreement, likely because the Kervan Holiday


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Packaging reverts to many of the infringing graphic elements that provoked the Prior Action, as

shown below:




          37.    Among other elements, the Kervan Holiday Packaging re-introduces the central

white panel that Kervan agreed to eliminate in the Settlement Agreement and Consent Judgment.

It further obscures the basket design in the approved Kervan packaging under a dense depiction

of fruit, and it positions the individual holiday pieces along the sides of the white panel in a

manner that is evocative of the WELCH’S FRUIT SNACKS stacked fruit arrangement. The

overall look of the Kervan Holiday Packaging is not only a marked departure from the approved

Kervan Revised Packaging, but it is more closely similar to the WELCH’S FRUIT SNACKS

Trade Dress than the original Kervan packaging that Kervan agreed to eliminate in the

Settlement Agreement and Consent Judgment.

          38.    To make matters worse, the Kervan Holiday Packaging is also carefully designed

to track the presentation found in the corresponding holiday packaging format used for

WELCH’S FRUIT SNACKS proximate to the Christmas season. The Kervan Holiday

Packaging replicates the number of holiday themed pieces displayed on either side of the


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WELCH’S FRUIT SNACKS holiday package, with two on one side and three on the other. It

adopts an identical background design featuring specks of white snow against a light

background, and locates evergreen branches and other Christmas imagery around the periphery

of the package, as shown in the comparison below:




          39.    The net result of these changes is that the Kervan Holiday Packaging mimics the

distinctive layout, graphics and imagery of the WELCH’S FRUIT SNACKS Trade Dress, in

both its standard and holiday versions, in ways similar to the original Kevan packaging that led

to the Prior Action. Indeed, the Kervan Holiday Packaging tracks the WELCH’S FRUIT

SNACKS Trade Dress even more closely than Kervan’s original infringing design. These

similarities are not accidental, but rather they reflect a studied effort to circumvent the Consent

Judgment and copy the WELCH’S FRUIT SNACKS Trade Dress.

          40.    Despite its undisputed awareness of Plaintiffs’ rights and Kervan’s commitments

in the Consent Judgment, Kervan has instead chosen to move closer to the WELCH’S FRUIT

SNACKS Trade Dress in what is, upon information and belief, an effort to draw unlawfully upon

the selling power of Plaintiffs’ famous intellectual property. Indeed, upon information and

belief, Kervan has offered the infringing Kervan Holiday Packaging to the Dollar General

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retailer chain as a cheaper knock-off replacement of the WELCH’S FRUIT SNACKS holiday

design that PIM had previously offered to the same retailer.

          41.    The SUNKIST FRUIT GUMMIES holiday product has been and will be targeted

and promoted to the same classes of consumers to whom WELCH’S FRUIT SNACKS are

marketed and sold.

          42.    Because WELCH’S FRUIT SNACKS and SUNKIST FRUIT GUMMIES

products are relatively low-cost impulse purchases, the consumers purchasing them are apt to be

less discerning in distinguishing products and are thus acutely vulnerable to confusion.

          43.    Kervan’s SUNKIST FRUIT GUMMIES holiday product and its associated

Kervan Holiday Packaging is likely to cause confusion, mistake and deception among consumers

as to the source and origin of such goods, and is likely to deceive the public into believing that

Kervan’s goods originate from, are associated with or are authorized or licensed by the producers

of WELCH’S FRUIT SNACKS, or that Kervan’s goods are from the same source, all to the

damage and detriment of Plaintiffs’ goodwill, reputation, and sales.

          44.      Upon information and belief, by virtue of its unlawful conduct, Kervan has made

and will make substantial profits and gains to which it is not in law or equity entitled.

          45.    As a result of Kervan’s actions, Plaintiffs have been and will be damaged in an

amount to be determined at trial.

          46.    PIM has demanded that Kervan immediately cease any plans to distribute

products in the Kervan Holiday Packaging, but Kervan has resisted making any changes to the

packaging.




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          47.    Kervan’s unlawful activities will cause irreparable harm and injury to Plaintiffs,

the reputation and the goodwill associated with the WELCH’S FRUIT SNACKS Trade Dress,

and Plaintiffs have no adequate remedy at law.

                                  FIRST CLAIM FOR RELIEF
                          (Violation of Section 43(a) of the Lanham Act)

          48.    Plaintiffs repeat and reincorporate the allegations contained in Paragraphs 1-47

above as if fully set forth herein.

          49.    Kervan’s promotion and sale of the SUNKIST FRUIT GUMMIES holiday

product in the Kervan Holiday Packaging, as described above, violates the WELCH’S FRUIT

SNACKS Trade Dress for the WELCH’S FRUIT SNACKS regular and holiday products, and

constitutes trade dress infringement, false designations of origin, and unfair competition in

violation of section 43(a) of the Lanham Act, 15 U.S.C. §1125(a)(1)(A).

                                SECOND CLAIM FOR RELIEF
                  (Breach of the Settlement Agreement and Consent Judgment)

          50.    Plaintiffs repeat and reincorporate the allegations contained in Paragraphs 1-47

above as if fully set forth herein.

          51.    The Settlement Agreement and Consent Judgment created pursuant thereto

constitute valid and binding contracts.

          52.    Plaintiffs have fully performed all their obligations under the Settlement

Agreement and Consent Judgment.

          53.    Kervan’s promotion and sale of the SUNKIST FRUIT GUMMIES holiday

product in the Kervan Holiday Packaging, as described above, constitutes use of packaging,

designs, colors and trade dress that is confusingly similar to the WELCH’S FRUIT SNACKS




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Trade Dress, in material breach of the Settlement Agreement and Consent Judgment, resulting in

damage to Plaintiffs.

                                   THIRD CLAIM FOR RELIEF
                                      (Unfair Competition)

          54.     Plaintiffs repeat and reincorporate the allegations contained in Paragraphs 1-47

above with the same force and effect as if set forth herein.

          55.     Kervan’s promotion and sale of the SUNKIST FRUIT GUMMIES holiday

product in the Kervan Holiday Packaging, as described above, constitute unfair competition in

violation of the common law of the State of New Jersey.

            WHEREFORE, Plaintiffs demands judgment against Kervan as follows:

         1.       Kervan, its officers, agents, servants, employees, representatives, parents,

subsidiaries, affiliates, divisions, successors and assigns and all those persons or entities in active

concert or participation with any of them who receive actual notice of the injunctive order, be

preliminarily and permanently enjoined from:

                  A.     Using in any manner the KERVAN Holiday Packaging or any other trade

dress or packaging design that is confusingly or deceptively similar to the WELCH’S FRUIT

SNACKS Trade Dress, in connection with the sale or promotion of Kervan’s goods, including,

without limitation, Kervan’s SUNKIST FRUIT GUMMIES; and

                  B.     Committing any other act calculated or likely to cause the public to

believe that Kervan or its goods are in any way connected, affiliated or associated with Plaintiffs

or their goods, or from otherwise competing unfairly with PIM.

         2.       Pursuant to 15 U.S.C. § 1118, that Kervan deliver up for destruction all material

(including, without limitation, all packaging, catalogs, advertisements, promotional materials,

brochures, signs, displays and/or stationary), within its possession, custody or control, either

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directly or indirectly, that bears a trade dress, package design or color combination confusingly

similar to the WELCH’S FRUIT SNACKS Trade Dress.

         3.      Pursuant to 15 U.S.C. § 1116(a), that Kervan be directed to file with the Court

and serve upon PIM, within thirty (30) days after entry of final judgment, a report in writing and

under oath setting forth in detail the manner and form by which it has complied with the

provisions set forth in paragraphs 1 and 2 above;

         4.      Pursuant to 15 U.S.C. § 1117(a), that Kervan be directed to account to Plaintiffs

for all gains, profits and advantages derived from its wrongful acts and to pay Plaintiffs all

damages sustained as a result of Kervan’s unlawful conduct;

         5.      Pursuant to 15 U.S.C. § 1117(a), that Plaintiffs recover from Kervan the greater of

three times the amount of Kervan’s profits or any damages sustained by Plaintiffs, together with

interest on such amount and the costs of this action;

         6.      Pursuant to 15 U.S.C. § 1117(a), that Plaintiffs recover from Kervan attorneys’

fees and costs in this action; and

         7.      That Plaintiffs have such other and further relief as the Court deems just,

equitable and proper.




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Dated: Newark, New Jersey          Respectfully submitted,
       December 24, 2020
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